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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
                                                                                        March 17, 2021
Case No.     2:20-cv-11147-SVW-SK                                           Date

             Deon Jones v. City of Los Angeles, et al.
Title




 Present: The Honorable     STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                   Paul M. Cruz                                               N/A
                   Deputy Clerk                                     Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         N/A                                                      N/A
 Proceedings:            IN CHAMBERS ORDER DIRECTING PARTIES INVESITGATE
                         IDENTITY OF DOE 1.

       The parties are ORDERED to identify, with haste, Doe 1 (i.e., the police officer who fired the
rubber bullet that struck Plaintiff). To that end, the Court ORDERS as follows:

       To the extent they have not done so already, both parties are ORDERED to expeditiously
        investigate and obtain relevant video footage. The parties’ obligation covers videos depicting
        Plaintiff being struck by a rubber bullet and any other videos depicting interactions between
        officers and protesters at or near the scene where Plaintiff was struck by a rubber bullet.

       Defendants are ORDERED to produce to Plaintiff all relevant videos obtained in the above
        described investigation, and all relevant videos recorded by the LAPD or that the LAPD
        has in its possession. This includes but is not limited to body cam footage, security footage,
        and videos that LAPD acquired from third parties through independent investigation.
        Defendants shall produce said videos to Plaintiff no later than April 5, 2021.

       Plaintiff is ORDERED to produce to Defendants all relevant videos obtained in the above
        described investigation, and all relevant videos recorded by Plaintiff or that Plaintiff has in
        his possession. This includes but is not limited to videos posted on social media websites and
        videos that Plaintiff acquired from third parties through independent investigation. Plaintiff




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                                                           Initials of Preparer
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        shall produce said videos to Defendants no later than April 5, 2021.

       Defendants are ORDERED to produce any incident reports or other documentation that
        describes the use of rubber bullets by LAPD on May 30, 2020 at or near the scene where
        Plaintiff was struck by a rubber bullet. This includes but is not limited to reports filed by
        individual officers. Defendants shall produce said documents to Plaintiff no later than April 5,
        2021.

       Both parties are ORDERED to investigate whether officers from other agencies were
        present at or near the scene where Plaintiff was injured. If said investigation(s) reveal that
        officers from other agencies were present at or near the scene, the parties should request relevant
        video footage from those agencies.

       The parties are ORDERED to file a joint status report on April 9, 2021. In that report, each
        party should describe the efforts it took to comply with this order, obtain relevant video footage,
        and identify which individual officer fired the rubber bullet that struck Plaintiff.
The Court sets a status conference for April 12, 2021 to discuss the parties’ investigations.

        IT IS SO ORDERED.




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                                                            Initials of Preparer
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